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                   UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT MICHIGAN

MALIBU MEDIA, LLC,                         )
                                           )
             Plaintiff,                    ) Civil Case No. 2:19-cv-11222-DML-APP
                                           )
v.                                         )
                                           )
JOHN DOE subscriber assigned IP            )
Address 73.145.95.13,                      )
                                           )
             Defendant.                    )
                                           )

                           NOTICE OF COMPLIANCE

      Plaintiff, Malibu Media, LLC., hereby files this Notice of Compliance with the

Order of this Court dated June 6, 2019 [CM/ECF 6], by mailing a copy of same to the

Comcast Cable via E-mail and Certified Mail.

                                               Respectfully submitted,

                                               BOROJA, BERNIER &
                                               ASSOCIATES PLLC

                                               /s/ Joel A. Bernier
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